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 8                                 UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                              Case No. 04-CR-01765-JM
11
                             Plaintiff,
12           v.                                              ORDER ON JOINT MOTION
                                                             FOR CONTINUANCE OF
13    JOSEPH S. KASPER (1),                                  SENTENCING
      THOMAS C. KASPER (2), and
14    BETH E. BADRAK (3),
                                                             Date: February 2, 2007
15                           Defendants.                     Time: 9:00 a.m.

16
17          Based upon the parties’ Joint Motion for Continuance [Doc. No. 146], together with the
18   Declaration of Counsel In Support ... , a courtesy copy of which has been received by the court, and
19   good cause appearing therefor, the court hereby GRANTS the parties’ motion for continuance; and it
20   is hereby:
21          ORDERED that the sentencing hearing for defendants Joseph S. KASPER, Thomas C.
22   KASPER and Beth E. BADRAK, presently set for November 8, 2006 at 9:00 a.m., is hereby
23   continued to February 2, 2007 at 9:00 a.m.; and it is
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 1          FURTHER ORDERED that defendants on bond will file their respective acknowledgments
 2   of next court date no later than November 14, 2006.
 3          IT IS SO ORDERED.
 4   DATED: November 7, 2006
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                                                        Hon. Jeffrey T. Miller
 6                                                    United States District Judge
 7   cc: All Parties
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